Case 1:17-cr-00127-KMW Document 115 Filed 02/26/18 Page 1of1

 

Miedel & Mystiwiec LLP

February 26, 2018

Hon. Kimba M. Wood

United States District Court Judge
United States District Court
Southern District of New York
500 Pear! Street

New York, New York 10007

RE: United States v. Steven Simmons
17-Cr-127 (KMW)

Dear Judge Wood:

Steven Simmons is scheduled for sentencing on March 13, 2018. I write, with the
consent of the government, to request an adjournment of sentencing of approximately two
weeks. Mr. Simmons recently experienced a personal issue with his young son that requires his
attention and focus. Further, due to a number of unforeseen events, including appointment to
three capital cases in the last two weeks, I will have difficulty submitting a sentencing
memorandum by the end of this week. I appreciate the Court’s indulgence.

This constitutes my second request for an adjournment of sentencing, and, as noted, is
not objected to by the government.

Thank you for your consideration.

Sincerely,

L Ld
Florian Miedel

cc, AUSA Elisha Kobre
AUSA Brendan Quigley

 

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